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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DEVON BANK as the Guardian of the Estate of                 )
ALAYNA HIKE, a minor, and                                   )
RHONDA JONES, Individually,                                 )
                                                            )       Hon. John Z. Lee
                Plaintiffs,                                 )
                                                            )       Case No.: 1:17-cv-09286
v.                                                          )
                                                            )
UNITED STATES OF AMERICA, and VHS WEST                      )
SUBURBAN MEDICAL CENTER, INC. d/b/a                         )
WEST SUBURBAN MEDICAL CENTER                                )
                                                            )
                Defendants.                                 )

             PLAINTIFFS’ PETITION TO APPROVE SETTLEMENT OF MINOR

         NOW COME, the Plaintiffs, DEVON BANK, as Guardian of the Estate of ALAYNA

HIKE, a Minor and RHONDA JONES, Individually, by and through their attorneys, Beam Legal

Team, LLC, and submit the following Plaintiffs’ Petition to Approve Settlement of Minor. In

support thereof, the Plaintiffs would respectfully show unto the court the following:

        1.      This cause of action arises out of the labor and delivery of Alayna Hike, a minor,

on December 2, 2016 at West Suburban Medical Center, which resulted in her alleged permanent

and catastrophic brain damage.

        2.      Rhonda Jones presented to West Suburban Medical Center on December 1, 2016

at around 11:59am. She was 40 years old, gravida 11, para 9, at 38 5/7 weeks, and presented with

possible loss of fluid, visual changes and seeing spots, positive frontal headache, and tingling

sensation of bilateral hands. Rhonda Jones was admitted to Labor and Delivery for induction of

labor, induced for diagnosis of severe preeclampsia and ordered to receive continuous electronic

fetal heart monitoring. It is alleged that given the following risk factors: advanced maternal age,
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extreme grand parity, severe preeclampsia with severe features, possible gestational diabetes,

limited prenatal care, and obesity, Rhonda Jones was a high-risk patient who needed to be

assessed and/or managed by specialists including maternal fetal medicine specialist(s) and/or

obstetrician-gynecologist(s) during her admission. Rhonda Jones’ labor was managed by the

agents and/or employees of Defendant Hospital and/or Defendant USA, including federal

employees Erika Castro, M.D., Rebecca Dehoek, M.D., Sveva Brown, M.D., Morgan Madison,

M.D. who were family medicine physicians who Plaintiffs allege did not possess the specialized

training, education, and experience to appropriately care for a patient such as Rhonda Jones, and

other staff at West Suburban Medical Center. Specifically, Plaintiffs’ contend the deemed federal

employees of the United States of America were professionally negligent in their management,

care and treatment of Rhonda Jones and her unborn baby. It is also alleged that despite the order

for continuous monitoring, there are hours of tracing that are illegible or otherwise unreadable as

to the status of the fetal heart rate and/or the contractions. The records indicate that crash c-

section was performed with delivery of Baby Alayna at or about 00:52 on December 2, 2016,

which Plaintiffs allege was a late delivery, resulting in a severe hypoxic ischemic brain injury,

seizures, cerebral palsy and feeding difficulties requiring G-Tube placement.

       3.      Plaintiffs assert that Rhonda Jones, Alayna’s mother, also has an independent

personal injury action from the underlying action as a result of the Defendants’ alleged

negligence. Due to the Defendants’ alleged delay in performing a c-section, Ms. Jones suffered a

placental abruption and experienced blood loss. As a result, Ms. Jones was admitted in the ICU

for several days, given multiple blood transfusions and experienced pain and suffering,

independent of her daughter’s pain and suffering. Moreover, Ms. Jones has a claim under the


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Illinois Family Medical Expense Act for the extraordinary services, above that of a parent of a

healthy, typical child, she has rendered to Alayna both past and future.

        4.       Devon Bank was appointed Guardian of the Estate of Alayna Hike, a minor, on

April 14, 2017 by a Cook County Probate Court of competent jurisdiction. See Order Appointing

Guardian of Minor attached hereto as Exhibit A.

        5.       On December 27, 2017, Plaintiff filed suit against Defendants, United States of

America and West Suburban Medical Center, and assigned Case No. 17 CV 09286.

        6.       In various places throughout the medical records, Alayna Hike is referenced by

many other names, including the following: “Alayna Jones”, “Elaine Jones”, “Elaine Hike”,

“Elaina Jones”, “Elaina Hike”, “Aalayna Jones” and/or “Aalayna Hike”.

        7.       Rhonda Jones is the natural mother of Alayna Hike. She is a competent adult

under no legal disability.

        8.       After commencing suit, extensive discovery was exchanged between the parties,

numerous depositions were taken, including depositions of highly trained experts in the fields of

nursing, obstetrics/gynecology, maternal fetal medicine, neurology, radiology, physical medicine

and rehabilitation and economics. Pre-trial settlement negotiations were conducted, including in

part with the Honorable Judge Michael J. Gallagher. After months of negotiating, Plaintiffs and

Defendant USA were able to reach an agreement for full settlement of claims against Defendant

United States of America in the amount of Fifteen Million Dollars ($15,000,000.00). See

Stipulation for Compromise of Settlement1, attached hereto as Exhibit B.2 Moreover, Plaintiffs




1
 This petition’s description of the settlement agreement between the United States and the Plaintiffs is a summary
only. It does not modify or supplement the settlement agreement, and to the extent there is a conflict between the
settlement agreement and the petition, the settlement agreement controls, consistent with this Court’s Order.
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and the Defendant West Suburban Medical Center were able to reach an agreement for full

settlement of claims against Defendant West Suburban Medical Center, subject to

confidentiality.

        9.       Plaintiffs seek approval of the global settlement with the United States of America

and West Suburban Medical Center from this Court, as both settlements were reached in good

faith, are fair, reasonable, and in the best interests of the minor, Alayna Hike, and Rhonda Jones.

        10.      Throughout this litigation, counsel for Plaintiffs advanced expenses during

investigation and litigation that have been incurred and itemized on the cost sheet totaling

$236,045.93. See Itemization of Costs, attached hereto as Exhibit C. The undersigned believes

such costs were usual, customary, and necessary for the prosecution of said lawsuit to date, and

requests this Court approve of reimbursement of said costs.

        11.      The undersigned believes, and asks this Court to make a finding that, the probate

expenses claimed herein are reasonable, however, reimbursement of the same must be obtained

from the Probate Estate.

        12.      Plaintiffs, Devon Bank, as Guardian of the Estate of Alayna Hike, a minor, and

Rhonda Jones, individually, entered into a Legal Services Contract, which provides for

reimbursement of costs advanced by the firms, as well as an attorney fee in the sum Twenty Five

Percent (25%) of all monies recovered for any United States of America Defendant, pursuant to

the Federal Tort Claims Act (see 28 U.S. Code § 2678), and Thirty Three and One Third Percent

(33.33%) of all monies recovered for any non United States of America Defendant. See CFA

attached hereto as Exhibit D. Undersigned counsel believes said fee provisions and litigation

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 Following approval of the settlement by this Court, the representative of Devon Bank will execute the attached
Stipulation for Compromise of Settlement in compliance with local and Cook County rules. At that time, Defendant
United States of America will execute the Stipulation for Compromise of Settlement.
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expenses are customary, fair and reasonable, in compliance with Local Rule 6.5(1)(d). Plaintiffs

recommend approval of Three Million Seven Hundred Fifty Thousand Dollars ($3,750,000.00),

representing Twenty Five Percent (25%) of the settlement with Defendant USA. Plaintiffs

further recommend approval of attorney fees in the amount of Thirty Three and One Third

Percent (33.33%) of the settlement with Defendant West Suburban Medical Center.

       13.     The terms of this proposed settlement have been explained to the representative of

Devon Bank, James Benz, and to Rhonda Jones. Plaintiffs, relying on the advice of Beam Legal

Team LLC, believe this settlement was reached in good faith and is fair and reasonable under all

the circumstances of this case, as to Defendant United States of America and West Suburban

Medical Center. Undersigned counsel likewise believes that the offer is fair and reasonable and

recommends that the Court approve these settlements between Plaintiffs and the Defendant

United States of America and West Suburban Medical Center.

       14.     Plaintiffs have conferred with all parties to this suit and the relief sought is not

contested among the parties.

       15.     The Plaintiffs have met and conferred with Defendants regarding this petition.

Defendant United States of America has no objection to Plaintiffs’ petition or the relief requested

herein. Likewise, Defendant West Suburban has no objection to Plaintiffs’ petition or the relief

requested herein.

       16.     The statements herein are true to the best of Plaintiffs’ knowledge and belief.

       17.     In summary, Plaintiffs request as follows:

       Plaintiffs, Devon Bank, as Guardian of the Estate of Alayna Hike, a minor, and Rhonda

Jones, individually, respectfully requests entry of an Order approving the final settlement of this

cause of action with the Defendant United States of America; finding the terms of said
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agreement to be fair and reasonable, and reached in good faith; finding the litigation expenses

and attorney fee to be fair and reasonable under the circumstances; and authorizing the Plaintiffs,

to execute a Release to conclude the final settlement of this cause of action against said

Defendant United States of America; and then dismissing this case against the Defendant United

States of America, with prejudice and without assessment of costs. Plaintiff further requests that

the Court authorize distribution of the proceeds of this settlement as follows:

           a. $3,750,000.00 payable to Beam Legal Team, LLC, said sum representing the total
              attorney fees payable pursuant to the contingency fee, FTCA and 28 U.S. Code §
              2678, which is fair and reasonable;
           b. $236,045.93 payable to Beam Legal Team, LLC, said sum representing
              reimbursement for attorney costs expended in this matter as counsel to Plaintiffs,
              which is fair and reasonable;
           c. $39,352.43 payable to Equian in care of CountyCare Health Plan (an IL Medicaid
              plan);
           d. $44,269.90 payable to Equian in care of Molina Healthcare of Illinois (an IL
              Medicaid plan);
           e. $7,000,000.00 payable to Brant, Hickey & Associates, general agent for
              Settlement Advisors LLC to purchase an annuity as set out in the Irrevocable
              Reversionary Inter Vivos Grantor Medical Care Trust For The Benefit of Alayna
              Hike, Exhibit E;
           f. $500,000.00 payable to the Irrevocable Reversionary Inter Vivos Grantor Medical
              Care Trust For The Benefit of Alayna Hike;
           g. $3,430,331.74 payable to Devon Bank, as Guardian of the Estate of Alayna Hike;

       Plaintiffs, Devon Bank, as Guardian of the Estate of Alayna Hike, a minor, and Rhonda

Jones, individually, respectfully requests entry of an Order approving the final settlement of this

cause of action with the Defendant West Suburban Medical Center; finding the terms of said

agreement to be fair and reasonable, and reached in good faith; finding the litigation expenses

and attorney fee to be fair and reasonable under the circumstances; and authorizing the Plaintiffs

to execute a Release to conclude the final settlement of this cause of action against said

Defendant West Suburban Medical Center; and then dismissing this case against the Defendant

West Suburban Medical Center, with prejudice and without assessment of costs. Plaintiffs further
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request that the Court authorize distribution of the proceeds of this settlement in accord with the

proposed confidential distribution reflected in Attachment A to Plaintiff’s Proposed Order

(Exhibit F), provided to the Court under separate cover per standing order and to be kept

confidential and filed under seal per the Parties confidential agreement.


       WHEREFORE, Plaintiffs Request this Honorable Court grant Plaintiffs’ Petition to

Approve Settlement of Minor and enter the Order attached hereto as Exhibit F.

Dated: November 8, 2019.

                                              Devon Bank, as Guardian of the Estate of
                                              ALAYNA HIKE, and RHONDA Jones,
                                              individually, Plaintiff.

                                              By counsel,

                                              /s/ Matthew M. Patterson
                                              Jack Beam, Esq. (6285383)
                                              Matthew M. Patterson, Esq. (6316641)
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                                  CERTIFICATE OF SERVICE
         I, Matthew M. Patterson, of Beam Legal Team, LLC, counsel for Plaintiffs, hereby
certify that on November 8, 2019, I electronically filed Plaintiffs’ Petition to Approve Settlement
of Minor with the Clerk of the Court using the CM/ECF system which will send notification to
the following CM/ECF participants. I further certify that on this date, a copy of same was sent to
all counsel of record via electronic mail as indicated below.

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Attorneys for Defendant West Suburban Medical Center


                                              /s/ Matthew M. Patterson
                                              MATTHEW M. PATTERSON, Esq. (6316641)




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